199 F.2d 756
    KYLE,v.UNITED STATES.No. Undocketed.
    United States Court of Appeals Ninth Circuit.
    Nov. 3, 1952.
    
      Arnold Thomas Kyle, in pro. per.
      No other appearances were entered.
      Before STEPHENS, HEALY, and BONE, Circuit Judges.
      PER CURIAM.
    
    
      1
      Arnold Thomas Kyle, the petitioner herein, has petitioned the United States District Court for the District of Oregon for a speedy trial or dismissal of an indictment returned to the above mentioned district court.  The petition was denied in toto and petitioner seeks to appeal in forma pauperis and has presented his application to this court for permission to do so.
    
    
      2
      No showing is made that such a petition for permission to appeal in forma pauperis has been made or presented to the court from which the appeal has been taken, and for that reason the petition is denied.  Smith v. Johnston, 9 Cir., 1940, 109 F.2d 152-155; Minntole v. Johnston, 9 Cir., 1945, 147 F.2d 944; see also In re Snow, 9 Cir., 1945, 147 F.2d 1006.
    
    
      3
      Denied.
    
    